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 1   CLEMENTE M. JIMÉNEZ, ESQ.
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 5   Attorney for ROBERTO TOSTADO-CADENAS
 6
                                   UNITED STATES DISTRICT COURT
 7
                                   EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,                       Case No.: 2:22-cr-151 WBS

11                    Plaintiff,                     STIPULATION AND ORDER
12                                                   VACATING DATE, CONTINUING
                vs.                                  CASE, AND EXCLUDING TIME
13
14   JOSE ANTONIO CURIEL, et al.,                    DATE: April 24, 2023
                                                     TIME: 9:00 a.m.
15                    Defendants.                    JUDGE: Hon. William B. Shubb
16
17              IT IS HEREBY STIPULATED by and between Assistant United States Attorney,
18   Justin Lee, Counsel for Plaintiff, and attorneys Clemente M. Jiménez, Counsel for
19   Defendant Roberto Tostado-Cadenas, and Megan Hopkins, Assistant Federal Defender,
20   Counsel for Jose Antonio Curiel, that the hearing in this matter, currently scheduled for
21   April 24, 2023, at 9:00 a.m., be vacated, and that the matter be continued to this court’s
22   criminal calendar on June 5, 2023, at 9:00 a.m. for further status conference and possible
23   change of plea. Counsel will require time to review discovery, conduct investigation, as
24   necessary, and confer with their respective clients.
25              IT IS FURTHER STIPULATED that time within which the trial of this case must
26   be commenced under the Speedy Trial Act, 18 U.S.C. Section 3161 et seq. be excluded
27   from computation of time pursuant to Section 3161(h)(7)(A) and (B)(iv), (Local code T-
28   4), from the date of the parties’ stipulation, April 19, 2023, through June 5, 2023, and that




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 1   the ends of justice served in granting the continuance and allowing the defendant further
 2   time to prepare outweigh the best interests of the public and the defendant to a speedy
 3   trial.
 4
 5   DATED:           April 19, 2023             /S/   Justin Lee
                                                 PHILLIP TALBERT
 6
                                                 by JUSTIN LEE
 7                                               Attorney for Plaintiff
 8   DATED:           April 19, 2023             /S/   Clemente M. Jiménez
 9                                               CLEMENTE M. JIMÉNEZ
                                                 Attorney for Roberto Tostado-Cadenas
10
11   DATED:           April 19, 2023             /S/    Megan Hopkins
                                                 MEGAN HOPKINS
12                                               Assistant Federal Defender
13                                               Attorney for Jose Antonio Curiel
14
15
16                                              ORDER
17
                IT IS SO ORDERED, that the status of counsel hearing in the above-entitled
18
     matter, scheduled for April 24, 2023, at 9:00 a.m., be vacated and the matter continued
19
     for further status conference and possible change of plea on June 5, 2023, at 9:00 a.m.
20
     The Court finds that time under the Speedy Trial Act shall be excluded from the date of
21
     the parties’ stipulation, April 19, 2023, through June 5, 2023, to afford counsel
22
     reasonable time to prepare. Based on the parties’ representations, the Court finds that the
23
     ends of justice served by granting a continuance outweigh the best interests of the public
24
     and the defendants to a speedy trial.
25
     Dated: April 21, 2023
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     04/21/23
